          Case: 13-36177, 01/16/2014, ID: 8941891, DktEntry: 5, Page 1of1
         Case 2:09-cv-00076-DLC-RWA Document 223 Filed 11/03/15 Page 1 of 1
                                                                              FILED
                       UNITED STATES COURT OF APPEALS                         JAN 16 2014

                                                                         MOLLY C. DWYER, CLERK
                             FOR THE NINTH CIRCUIT                          U.S. COURT OF APPEALS




ROGER G. SEGAL, Trustee,                          No. 13-36177

               Plaintiff - Appellee,              D.C. No. 2:09-cv-00076-DLC-
                                                  RWA
  v.                                              District of Montana,
                                                  Butte
GREG MEGARGEL, City of Bozeman
Police Department Sergeant, in his
individual and official capacity,                  ORDER

               Defendant - Appellant.


       Appellant's motion for voluntary dismissal of this appeal under Federal Rule
of Appellate Procedure 42(b) is granted.
       A copy of this order shall act as and for the mandate of this court.


                                       For the Court:
                                       MOLLY C. DWYER
                                       Clerk of the Court


                                       Alihandra M. Totor
                                       Deputy Clerk
                                       Ninth Circuit Rules 27-7 and 27 10




AmtVPro Mo 15Jan2014
